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  IN THE UNITED STATES DISTRICT COURT
  FOR THE DISTRICT OF NEW JERSEY
   DANIEL D’AMBLY, AARON WOLKIND, STEVE
   HARTLEY, RICHARD SCHWETZ, JOBEL BARBOSA,                                      CIVIL ACTION
   MATTHEW REIDINGER, JOHN HUGO, SEAN-                                           NO.: 2:20-cv-
   MICHAEL DAVID SCOTT, THOMAS LOUDEN,                                           12880-
   ZACHARY REHL, AMANDA REHL, K.R., a minor, by                                  JMV-JSA
   and through her father ZACHARY REHL, and her mother
   AMANDA REHL, MARK ANTHONY TUCCI,
                                                                                 Hon. John M.
                Plaintiffs,                                                      Vazquez, U.S.D.J.
       vs.
                                                                                 Oral Argument
   CHRISTIAN EXOO a/k/a ANTIFASH                                                 Requested
   GORDON, ST. LAWRENCE UNIVERSITY,
   TRIBUNE PUBLISHING COMPANY, NEW                                               Return Date:
   YORK DAILY NEWS, VIJAYA GADDE;                                                July 6, 2021
   TWITTER, INC., COHEN, WEISS AND
   SIMON, LLP,

                 Defendants.


  MEMORANDUM OF LAW IN SUPPORT OF DEFENDANT CHRISTIAN
  EXOO’S MOTION TO DISMISS PURSUANT TO F.R.C.P. Rules 12(b)(2) and
  12(b)(6)


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        available at https://www.washingtonpost.com/national
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      I.      Introduction
           As Justice Brandeis famously noted, “[p]ublicity is justly commended as a

  remedy for social and industrial diseases. Sunlight is said to be the best of

  disinfectants; electric light the most efficient policeman.” Louis Brandeis, Other

  People’s Money (1914), quoted in Buckley v. Valeo, 424 U.S. 1, 67 (1976).

  Defendant Christian Exoo (“Defendant Exoo”) is plausibly accused of nothing

  more than asserting his First Amendment right to freedom of speech by shining

  sunlight on participants in dangerous extremist groups for the betterment and

  protection of society. The sole purpose of Plaintiffs’ First Amended and

  Supplemental Complaint (“FASC”) is to turn off that light and intimidate

  Defendant Exoo into silence – a cause of action our law does not permit.

           Plaintiffs assert thirteen causes of action including eight causes of action

  against Defendant Exoo. By this motion, Defendant Exoo seeks dismissal of

  Counts II, III, IV, V, VI, VIII, IX, and X in the FASC – pursuant to F.R.C.P. Rule

  12(b)(6) for failure to state a claim. Indeed, Plaintiffs’ allegations are refuted by

  the very tweets that Plaintiffs claim give rise to their claims which are incorporated

  by reference into the FASC. Defendant Exoo also seeks dismissal of the claims of

  the twelve non-New Jersey Plaintiffs (all Plaintiffs other than D’Ambly) for lack of

  personal jurisdiction.




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          The FASC alleges a fantastical tin foil hat conspiracy theory of a massive

  RICO enterprise comprised of more than 100,000 co-conspirators who republished

  the truthful, publicly available information concerning most of the Plaintiffs. See

  FASC at ¶¶ 133 (alleging that “Exoo’s dox and call to action to his associates was

  retweeted over 100,000 times”), 27 (alleging that Exoo had more than 46,000

  Twitter followers in December 2020). Plaintiffs allege that Defendant Exoo, a part-

  time librarian at a St. Lawrence University and one of more than 300 million

  Twitter users, is the mastermind of a racketeering enterprise of epic proportion

  “financed by Jewish money.” Id. ¶¶ 193-203. See also Exh. B-II, D’Ambly Exoo

  Tweets at 39 (D’Ambly interview excerpt which can heard at

  https://twitter.com/AntiFashGordon/status/1099050519346233344 (In the

  interview, D’Ambly states that his “employer capitulated to Communist terrorists

  who were financed by Jewish money.”). See also full D’Ambly interview available

  at https://www.bitchute.com/video/QOfL7xWTbWhV/ (last visited April 22, 2021,

  a copy of which will be provided upon request) at 20:40-21:10, 27:50-28:30,

  30:20-30:50, 42:30-42:40, 54:45-55:00, 58:10-58:45 (railing against “Jewish

  tyranny,” the “JEWdiciary” (“they dominate the JEWdiciary, that’s J-E-W-

  diciary!”), the “Jew supremacist ruling class,” the “black supremacist

  government,” communists, Marxists, “Sodomites” and immigrants, while calling

  on his followers to dox his perceived enemies).


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          Plaintiffs further assert that the “Exoo Enterprise” facilitates his employer’s

  “global mission” from his librarian’s desk on the university’s campus where he

  directs the activities of his associates including Defendant Twitter, Inc. and one of

  its top executives, Defendant Vijaya Gadde. Id. ¶ 194. In Plaintiffs’ alternate

  reality, St. Lawrence’s “global mission” refers to its perceived opposition to

  Nazism, white supremacy, and dangerous extremist groups. Similarly, Plaintiffs

  allege that Twitter’s participation in the Exoo Enterprise is fueled by Defendant

  Gadde’s hostility to fascism, white supremacy, the American Nazi Party and the

  Ku Klux Klan. ¶ 201. Plaintiffs’ allegations concerning Defendant Exoo’s

  extraordinary power to control and direct the activities of more than one hundred

  thousand associates including a prestigious university, a multi-billion-dollar

  corporation and one the corporation’s top executives are not only implausible—

  they are pure fantasy.

          First, the FASC alleges actions which, if true, constitute speech protected by

  the First and Fourteenth Amendments to the United States Constitution and the

  Article I, Section 6 of the New Jersey State Constitution.

          Second, Plaintiffs’ common law claims for tortious interference and

  intrusion upon seclusion (Counts II and III respectively) must be dismissed. Many

  of the Plaintiffs fail to assert any interference with their business interests or even

  try to establish the elements of their claims for intrusion upon seclusion.


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            Third, Plaintiffs’ statutory claims in Counts IV, V and VI of the FASC assert

  claims for violation of criminal statutes for which no private right of action exists.

            Fourth, the RICO and state law conspiracy claims (Counts VII, IX and X)

  should be dismissed for the following reasons: 1) Plaintiffs fail to allege requisite

  predicate acts; 2) Plaintiffs fail to allege facts from which to conclude the existence

  of a RICO enterprise; and 3) Plaintiffs fail to allege factual allegations which, if

  accepted to be true, constitute a RICO conspiracy.

            Fifth, other than Plaintiff D’Ambly, none of Plaintiffs’ claims have any

  connection to the State of New Jersey. The federal RICO claim is the only claim

  that permits nationwide service of process. In the event the federal RICO claims

  are dismissed, all claims of Plaintiffs other than D’Ambly claims must also be

  dismissed for lack of personal jurisdiction.

      II.      Statement of Facts

            Thirteen Plaintiffs assert claims against Defendant Exoo. Plaintiffs (other

  than Plaintiff Zachary Rehl’s family members)1 seek the assistance of this Court in

  retaliating against individuals who speak out against violent acts of hatred and

  hateful rhetoric. Plaintiffs include numerous members of prominent white

  supremacist, fascist or other hate groups asserting claims against Defendant Exoo


  1
   When referring to Plaintiffs’ participation in dangerous extremist activities and
  hate groups, Defendant Exoo does not ascribe this conduct to Plaintiff Rehl’s wife
  and minor child, who do not allege that they were doxed.
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  for disclosing their association with these organizations. Several of the Plaintiffs

  who complain about being doxed boast about their own practice of doxing

  journalists and individuals opposed to fascism. See e.g., Declaration of Richard

  Torres, Esq. (“Torres Decl.”), filed herewith; Exh. B-I, Exoo-Schwetz Tweets at 2,

  4; Exh. B-III, Exoo-Scott Tweets; Exh. F (referred to in Exh. B-III, Exoo-Scott

  Tweets).2

           A. Defendant Christian Exoo

           Defendant Exoo is one of more than 300 million Twitter users. The Exoo

  Tweets referenced in the FASC do not condone or advocate any form of violence.

  See generally Exh. B, Exoo Tweets. In fact, Defendant Exoo warned Twitter users

  against the use of “dangerous rhetoric that motivated” a recent massacre. Exh. B-II

  at 19. Contrary to Plaintiffs’ assertions, nothing in the Exoo Tweets referenced in

  the FASC can plausibly be interpreted as inciting violence.

           B. Plaintiff Daniel D’Ambly and the NJ European Heritage Association

           Plaintiff Daniel D’Ambly is the leader of New Jersey European Heritage

  Association (“EHA”), an organization designated by the New Jersey Office of

  Homeland Security and Preparedness (“NJOHSP”) as a “white supremacist

  extremist group” and by the Southern Poverty Law Center as a “hate group.” See



  2
      All exhibit citations refer to the exhibits annexed to the Torres Decl.

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  Exh. C, 2019 NJOHSP Terrorism Threat Assessment at 17 (identifying EHA as a

  white supremacist extremist organization); Exh. D, NJOHSP Terrorism Threat at

  17 (describing the white

  supremacist recruitment activities

  of D’Ambly’s organization).3 See

  also Exh. B-II, Exoo-D’Ambly
                                                 Exh. B-II, Exoo - D’Ambly Tweets at 12.

  Tweets at 12-13, 39.4

          Plaintiff D’Ambly admits that his
                                                           Exh. B-II, Exoo - D'Ambly Tweets at 13.
  termination was based on his employers’

  hostility to D’Ambly’s white supremacist views and that he was only terminated

  after his employer confirmed his association with the white supremacist extremist



  3
   Defendant Exoo requests that the Court take judicial Notice of the Terror Threat
  Assessment Reports (Exhs. A and B). See Fellner v. Tri-Union Seafoods, L.L.C.,
  Civil Action No. 06-CV-0688 (DMC), 2010 U.S. Dist. LEXIS 36195, at *19 n.8
  (D.N.J. Apr. 13, 2010) (taking judicial notice of publicly available governmental
  reports); In re Wellbutrin SR/Zyban Antitrust Litigation, 281 F. Supp.2d 751, 754
  (E.D.Pa. 2003) (taking judicial notice of FDA report posted on the official FDA
  website).
  4
    The Exoo Tweets (Exh. B) are incorporated by reference into the complaint. See
  FASC at ¶¶ 1-15, 27, 31-37, 39-45, 48, 49, 51, 53, 58, 61, 72, 76-81, 84-87, 90-93,
  96-99, 104-106, 108-110, 114-116, 118, 120, 121, 123, 124, 128, 133, 134, 138,
  140, 141, 151-153, 157-159, 162-165, 168-170, 173-175, 187, 188, 192-195, 197-
  206, 211-215, 219-225, 233, 235-237. See also Helios Streaming, LLC v. Vudu,
  Inc., No. 19-1792-CFC-SRF, 2020 U.S. Dist. LEXIS 82376, at *21 (D. Del. May
  11, 2020) (granting motion to dismiss and finding that plaintiff mischaracterized
  letter incorporated by reference into the complaint).

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  organization. See FASC at ¶¶ 26 (noting D’Ambly’s employer’s report “confirmed

  D’Ambly’s association with EHA”), 58 (alleging discrimination because D’Ambly

  was terminated for his white supremacist views, while non-white employees were

  not punished or terminated for their “racially identifiable associations.”). Rather

  than accept responsibility for his own actions, D’Ambly blames others including

  Defendant Exoo for the consequences of his hateful extremist actions.

  Plaintiff D’Ambly alleges that Defendant Exoo was responsible for his termination

  because Exoo linked D’Ambly’s publicly available employment information with

  D’Ambly’s white supremacist activities on Twitter.com. ¶¶ 44-58, 60-67.

  However, Plaintiff D’Ambly exposed his own association with EHA by attending

  white supremacist extremist events like the EHA’s “Jew Walk” event in Princeton,

  New Jersey, the deadly Unite the Right rally in Charlottesville, Virginia, and the

  Unite the Right 2 rally. See Exh. B-II, Exoo-D’Ambly Tweets at 3, 10, 15, 16, 40.

  As shown in the Tweets, Plaintiff D’Ambly did not attempt to conceal his identity

  when he appeared in videos on EHA’s “Jersey Goyz 14” YouTube channel holding

  a handmade sign that read: “EXPEL THE JEW BY ’22.” (emphasis in original).

  Id. a 16.

          C. The Proud Boys Plaintiffs

          Eight of the plaintiffs are current or former members of the violent hate

  group the Proud Boys (Plaintiffs Zachary Rehl, Wolkind, Schwetz, Hartley,


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  Barbosa, Tucci, Scott and Reidinger, collectively, the “Proud Boys Plaintiffs”). See

  FASC at ¶ 14. See also Exh. B-III, Exoo-Scott Tweets at 2, 3, 4; Exh. F. Two of

  the Plaintiffs are members of Plaintiff Zachary Rehl’s family (Amanda Rehl and

  K.R. Rehl) and their claims are based entirely on actions allegedly directed at

  Plaintiff Zachary Rehl.

          The Proud Boys are a male-only group of self-identified “Western

  chauvinists,” which has been identified as a “terrorist entity” and an “ideologically

  motivated violent extremist group” by the Canadian government, a “designated

  hate group” by the Southern Poverty Law Center, and a “racist group” by Plaintiff

  Zachary Rehl, President of the Philadelphia Chapter of the Proud Boys. 5

          The Proud Boys recently rose to ignominious international fame in the runup

  to the 2020 election and as a result of their participation in and alleged

  coordination of the attack on the United States Capitol, resulting in the arrest of

  more than two dozen of its members including Plaintiff Zachary Rehl in

  connection with his alleged leadership role in the attack. See Exh. E, Rehl

  Indictment. The indictment states that after the insurrection, Plaintiff Zachary Rehl


  5
   See e.g., Exh. B-IV, Exoo-Wolkind Tweets at 2-5; Exh. B-V Exoo-Rehl Tweets at
  2, 3, 7, 8, 13, 17, 19, 21, 22, 27, 32, 35, 41. See also Public Safety Canada,
  Government of Canada lists 13 new groups as terrorist entities and completes
  review of seven others, Feb. 3, 2021 available at
  https://www.canada.ca/en/public-safety-canada/news/2021/02/government-of-
  canada-lists-13-new-groups-as-terrorist-entities-and-completes-review-of-seven-
  others.html. (last accessed 4/22/2021).
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  boasted about his pride in participating in the attack and the need for the planning

  of further operations. Id. at ¶ 24(c). The Proud Boys have attributed the negative

  exposure to a massive increase in their membership since last summer. None of the

  Proud Boys Plaintiffs allege any connection of their non-RICO claims to the State

  of New Jersey.

          Plaintiff Zachary Rehl alleges that his personal information was first

  associated with his Proud Boys activities on or about August 2, 2017 resulting in

  the terminated of his employment in September 2017. See FASC at ¶ 78. As set

  forth in the Exoo-Rehl Tweets, Defendant Exoo first referenced, Zachary Rehl on

  November 12, 2018, citing Rehl’s statement that the Proud Boys are a “racist

  group.” See Exh. B-V, Exoo-Rehl Tweets at 6, 20, 23, 24, 41 (“It’s not a rally for

  Proud Boys. We’re not interested in having any racist groups there.”). This was

  more than a year after Zachary Rehl alleges that he was first doxed. See FASC at ¶

  76. Moreover, Defendant Exoo merely identified Zachary Rehl’s association with

  the Proud Boys. He did not identify Zachary Rehl’s home address, phone number

  or his employer’s information. See Exh. B-V, Exoo-Rehl Tweets.

          Plaintiffs Amanda Rehl and her daughter Plaintiff K.R. do not allege that

  they were doxed at all. Id. at ¶¶ 83-94. Plaintiff Amanda Rehl does not specifically

  allege any interference with her business relationships. Id. Plaintiff K.R. does not




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  assert any claims for intrusion upon seclusion or tortious interference. See id.;

  Counts II and II (specifically excluding Plaintiff K.R.).

          Plaintiff Schwetz alleges that his publicly available employment

  information was first associated with his Proud Boys activities in June 2020 by an

  unnamed person. See FASC at ¶ 114. Plaintiff Schwetz alleged that Exoo shared

  this public information on Twitter on September 21, 2020, more than three months

  after Schwetz’s employer was allegedly informed about Schwetz’s violent and

  hateful actions with the Proud Boys. Exh. B-I, Exoo-Schwetz Tweets at 2.

  Defendant Exoo republished Schwetz’ public

  social media posts in which Schwetz brags

  about beating up “Antifags” and going

  undercover to obtain personal information                    Exh. B-I, Exoo - Schwetz Tweets at 5.


  including phone numbers and license plate numbers of journalists and individuals

  opposed to fascism for the purpose of doxing them. Id. at 2, 4, 5.6 Defendant Exoo

  also responded on Twitter to a request for assistance in identifying Plaintiff


  6
   On his podcast, Thinking With Your Dick, Plaintiff Schwetz celebrated the
  practice of doxing, stating “Hey, has everyone gotten Gwen Snyder’s phone
  number … It’s beautiful. I love the fact that she got her stuff put out there and she
  complained about it too. That she got doxed. Ha ha ha ha.” See Richard Schwetz,
  Thinking With Your Dick, available at
  https://www.listennotes.com/podcasts/thinking-with-your/proud-boys-did-nothing-
  wrong-UdVY94OgqD0/ at 07:30-08:00. (copy of recording can be provided upon
  request).

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  Schwetz in connection with a violent assault against a journalist at a Proud Boys

  rally. Id. at 13, 14. Plaintiff Schwetz fails to allege any actionable injury. He does

  not allege that he was terminated from his employment or suffered any adverse

  effects of being doxed by Exoo or anyone else.

          Plaintiff Wolkind alleges that his publicly available Proud Boys activities

  were associated with his publicly available employment information by Defendant

  Exoo on Twitter. FASC at ¶¶ 14, 96. Defendant Exoo identified Wolkind as the

  “Sergeant at Arms of the Philadelphia Proud Boys,” and posted a photograph of

  Wolkind brandishing a can of mace at a Proud Boys rally. Exh. B-IV, Exoo-

  Wolkind Tweets at 2, 6. Plaintiff Wolkind does not allege that he was terminated

  from his job. He merely claims that he cannot obtain other employment because

  potential employers can easily learn of his public association with fascism and the

  Proud Boys hate group and Canadian terrorist organization. FASC at ¶¶ 96-102.

          Plaintiff Hartley alleges that his public Proud Boys activities were

  associated with his public employment information by Defendant Exoo on Twitter.

  FASC at ¶¶ 6, 14, 104-105. See also Exh. B-VI, Exoo-Hartley Tweets. Plaintiff

  Hartley does not allege that he was terminated from his job or that his home

  address and personal cell phone were disclosed by Exoo. See FASC at ¶ 104-106.

          Plaintiff Tucci alleges that his publicly available employment information

  was associated with his public Proud Boys activities by Defendant Exoo on


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  Twitter. FASC at ¶¶ 107-111. Tucci publicly disclosed his own association with

  the Proud Boys on social media long before Defendant Exoo shared that

  information using the hashtag #proudboys and posting a picture wearing a Proud

  Boys shirt. Exh. B-VII, Exoo-Tucci Tweets at 2-5. Tucci does not allege that he

  was fired from his job or suffered any consequences as a result of the association

  between his employment information and Proud Boys activities. FASC at ¶¶ 108-

  111.

          Plaintiff Reidinger alleges that his publicly available employment

  information was associated with his public Proud Boys identity by Defendant Exoo

  on Twitter. FASC at ¶¶ 119-121. In Defendant Exoo’s Tweets concerning

  Reidinger, incorporated by reference into the FASC, Exoo identified Reidinger as

  Sergeant at Arms for the Harrisburg, PA Proud Boys. Exh. B-VIII, Exoo-Reidinger

  Tweets at 2. Exoo also identified Reidinger’s employer and republished portions of

  Reidinger’s public social media pages in which Reidinger identifies himself as a

  Proud Boy, a “domestic terrorist,” and a “shover at helicopter.” Id. at 3, 4, 14. The

  FASC does not allege that Defendant Exoo published Plaintiff Reidinger’s home

  contact information or his personal phone number. Nor does the FASC allege that

  Plaintiff Reidinger was terminated from his employment or suffered any adverse

  effects of having his public participation in a hate group associated with his public

  employment information. FASC at ¶¶ 120-121.


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          Plaintiff Barbosa alleges that his publicly available employer contact

  information was associated with his Proud Boys activities by Defendant Exoo.

  FASC at ¶ 9, 14, 122-126. As shown in the Exoo Tweets, Barbosa made no effort

  to conceal his identity when conducting activities on behalf of the Proud Boys. See

  Exh C-IX, Exoo-Barbosa Tweets at 3. Moreover, the Exoo-Barbosa-Tweets,

  incorporated by reference into the FASC, show that Exoo did not disclose Plaintiff

  Barbosa’s home contact information, his personal phone number, or his wife’s

  personal phone number and the FASC does not identify any person who allegedly

  made such disclosure. FASC at ¶ 124.

          Plaintiff Scott alleges that his publicly available information was disclosed

  by Defendant Exoo on Twitter. FASC at ¶ 127-131. As indicated in the Exoo

  Tweets, Plaintiff Scott was not doxed by Defendant Exoo in the first instance but

  by a group called Puget Sound Anarchists in

  a Washington State Community Alert

  webpage. Puget Sound Anarchists exposed
                                                             Exh. B-III, Exoo - Scott Tweets at 3.

  many of Scott’s vile anti-Semitic statements

  and his efforts to dox individuals who are opposed to fascism. Exh. B-III, Exoo-

  Scott Tweets; Exh. F-II. Puget Sound Anarchists Community Alert referenced in

  Exh. B-III Exoo-Scott Tweets. The Community Alert was republished on Twitter

  by a user named WANaziWatch. Exh. F-I, WANaziWatch Tweets (“POLITELY


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  ask whether sending a neo-Nazi into people’s homes and neighborhoods is

  appropriate.”). The Community Alert included information concerning Plaintiff

  Scott’s Nazi and Proud Boys activities and his hope for an imminent race war

  which Plaintiff Scott described as the “boogaloo.” WANaziWatch also republished

  Plaintiff Scott’s statements concerning his efforts to dox individuals opposed to

  fascism (“I’ve got some antifa names I’ve doxed just for you”) and bragging about

  his ability to avoid being doxed himself (“Nobody can dox me I’m a *** ghost”).

  After Puget Sound Anarchists accepted Plaintiff Scott’s challenge and exposed his

  connection to the Proud Boys, that information was tweeted by WANaziWatch and

  publicly disclosed on Twitter, and on other social media sources. Many individuals

  reported on it. See Exh. B-III, Exoo-Scott Tweets; Exh. F. Defendant Exoo was

  one of those individuals. Id. On September 19, 2019, Scott’s employer confirmed

  his termination and thanked Twitter users for sharing their concerns about Scott.

  See Exh. F-I, WANaziWatch Tweets at 11.

          D. Plaintiff Hugo and Super Happy Fun America

          Plaintiff Hugo is a public figure and President of Super Happy Fun America

  (“SHFA”). Several members of SHFA’s leadership, including its Vice President,

  have been charged for their participation in the Capitol insurrection. See Exh. G-1,

  Sahady Information. Hugo described the arrestees as “freedom fighters” and




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  boasted that SFHA’s membership has swelled 50% since the Capitol riot.7 From

  the stage of an SHFA “rally” in front of the Massachusetts State House, Plaintiff

  Hugo riled up the mob by calling for insurrection (“It is time to rise up. It is time

  for insurrection.”).8

          Plaintiff Hugo alleges that Defendant Exoo associated Hugo’s public SFHA

  activities with his public employment information and labeled him a fascist and

  white supremacist. Hugo further alleges that the information was retweeted more

  than 100,000 times (revealing Plaintiffs’ position that the alleged RICO enterprise

  includes at least 100,000 co-conspirators). See FASC at ¶ 133. In fact, the Exoo

  Tweets concerning Plaintiff Hugo accurately identified Hugo’s employer’s contact

  information and accurately identified Hugo as a “former GOP Congressional

  candidate and organizer of the Boston Straight Pride Parade, an event with hate

  group ties.” Exh. B-X, Exoo-Hugo Tweets at ¶ 3, 4, 9.




  7
    See Abigail Hauslohner, Washington Post, April 8, 2021, After Its Members Were
  Charged in Capitol Riot, One Group Says It Is More Popular Than Ever, available
  at https://www.washingtonpost.com/national/capitol-riot-
  group/2021/04/07/5a77bf7e-8cc6-11eb-a730-1b4ed9656258_story.html (last
  accessed 4/22/21).
  8
    See Zoe Greenberg and Laura Crimaldi, Smiling on the outside: Super Happy Fun
  America always claimed to be kidding. But the group’s history suggests otherwise,
  Boston Globe, February 20, 2021 available at
  https://apps.bostonglobe.com/metro/politics/2021/02/super-happy-fun-america/
  (last accessed 4/21/21).
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          E. Plaintiff Louden and His Violent Militia Groups

          Plaintiff Louden alleges that his employer’s information was associated with

  his militia activities by Defendant Exoo on Twitter. FASC at ¶¶ 13, 136-141.

  Defendant Exoo republished Louden’s public profiles on Linkedin.com,

  CivilianDefenseForce.com and mymilitia.com (with lists several of the militia

  groups with which Louden is associated). Exh. B-XI, Exoo-Louden Tweets at 3, 5,

  9, 10, 11, 12, 14, 17, 27, 34 (noting that Louden used his real name on his militia

  and Civilian Defense Force profiles until his public calls for violence intensified,

  when he changed his profile name to “Mars,” the Roman God of War). Exoo also

  republished several of Plaintiff Louden’s statements concerning his violent, racist

  and anti-Semitic conspiracy theories; his efforts to form his own armed militia

  unit; and to recruit a “top sniper” for this unit. Id. at 3, 4, 6, 7, 8, 9, 10, 11, 13, 28,

  33 (“please come to PA and be part of my CDF unit. You can be my top sniper.”).

          Exoo tweeted Louden’s employers’ public contact information and showed

  how he was able to identify Louden as the individual promoting anti-Semitism,

  racism and violent conspiracy theories online. Id. The Exoo-Louden Tweets clearly

  did not reveal Loudens’ home address, or the coordinates of his home. In fact,

  certain personally identifying information including Louden’s address and vehicle

  license plate number were redacted before this publicly available information was

  republished by Exoo. Id.


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          Plaintiff Louden maintains that he was terminated after being “quizzed”

  about his membership in extremist militia groups. FASC at ¶¶ 139. It appears that

  Plaintiff Louden’s employer was not satisfied with his responses to the quiz; his

  violent racist and anti-Semitic conspiracy theories; his association with at least

  three militia groups; and/or his efforts to start his own militia group and recruit a

  “top sniper” for that group. Rather than take responsibility for his own poor life

  choices, Plaintiff Louden blames Defendant Exoo, Twitter, an esteemed university,

  and more than 100,000 other unnamed people in the alleged “Exoo enterprise.”

      III.    Argument

        A. Legal Standard

          For the purpose of deciding the instant Motion, the Court must take all

  alleged facts as true. Phillips v. Cty. of Allegheny, 515 F.3d 224, 233 (3d Cir.

  2008). Nevertheless, the Court need not accept as true inferences unsupported by

  facts set out in the complaint or legal conclusions cast as factual

  allegations. Ashcroft v. Iqbal, 556 U.S. 662, 678 (2009); Magnum v. Archdiocese

  of Phila., 253 F. App’x 224, 225 (3d Cir. 2007). To survive the motion, Plaintiffs

  must have alleged facts sufficient to establish that they may eventually be entitled

  to redress such that one or more of their claims should be allowed to proceed to

  discovery, summary judgment motion practice, and, potentially, a trial on the




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  merits. Issaschar v. Eli Am. Friends of the Isr. Ass'n for Child Prot., No. 13-cv-

  2415, 2014 U.S. Dist. LEXIS 23411, at *3 (E.D. Pa. Feb. 24, 2014).

          In determining the motion, the Court may consider documents incorporated

  by reference into the complaint. In re Amarin Corp. PLC Sec. Litig., 689 F. App'x

  124, 128 n.6 (3d Cir. 2017). The Court may also take judicial notice of certain

  documents outside the four corners of the complaint. United States v. Kindred

  Healthcare, Inc., 469 F. Supp. 3d 431, 438 n.3 (E.D. Pa. 2020).

          B. Defendant Exoo’s Alleged Conduct is Protected by the First Amendment
             and New Jersey Constitution

          1. Plaintiffs Have Failed to Allege a True Threat

         Defendant Exoo’s tweets constitute political speech protected by the First

  Amendment and Article One, Section Six of the New Jersey Constitution. None of

  his statements rise to the level of incitement of criminal conduct. When analyzing

  alleged threats, Courts distinguish between public political speech like Exoo’s

  tweets and private speech. See Planned Parenthood of the Columbia/Willamette,

  Inc. v. Am. Coal. of Life Activists, 290 F.3d 1058, 1089, 1105 (9th Cir.

  2002)(noting that in the context of political speech, a “true threat” must be

  “unequivocal, unconditional, immediate and specific” in order to be actionable).

  “Political speech, ugly or frightening as it may sometimes be, lies at the heart of

  our democratic process.” Id. In NAACP v. Claiborne Hardware Co., 458 U.S. 886,

  902, 929 (1982), the Supreme Court determined that the statement by civil rights

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  leader Medgar Evers that “we're gonna break your damn neck” “did not exceed the

  bounds of protected speech.”

         Plaintiff D’Ambly has failed to plausibly allege facts from which to conclude

  that any of the named Defendants made any actionable true threat against him.

  Exoo’s actions are non-violent. Even the strongest statement from Exoo alleged in

  the FASC: that Exoo was going to spend a week wrecking Plaintiff’s D’Ambly’s

  life is not a true threat, does not incite violence, and is far more gentle and less

  specific than Medgar Evers’s language in the NAACP case. See FASC at ¶ 58.

  Moreover, D’Ambly claims an unnamed third party told his employer (not

  D’Ambly himself) that it would have blood on its hands in the event that violence

  occurred. See FASC at ¶ 52. Under no circumstances can the alleged statement to

  the Daily News from an unnamed third party which D’Ambly believes to be one of

  Defendant Exoo’s 46,000 Twitter followers be considered a true threat. The

  statement concerning potential blood on the Daily News’ hands was neither

  specific, unequivocal, unconditional nor immediate. Further, Plaintiff D’Ambly

  provided no context for the statement and it is unclear what the caller was referring

  to. FASC at ¶ 52. It is plausible that the Daily News was being warned of

  D’Ambly’s participation in violent, racist rallies like the Unite the Right rally in

  Charlottesville, Virginia where a white supremacist protestor brutally plowed

  through a crowd, killing one protestor and injuring dozens of others. Similarly, the


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  caller may have been stating that he believed D’Ambly’s vile actions would incite

  some other third party to take violent action? Finally, the phrase “blood will be on

  your hands” is a classic statement from the old testament (Ezekiel 3:18) which

  refers to allowing a person to change his ways before potential future harm occurs.

  This single statement is far too ambiguous, conditional, and equivocal to be

  construed as an actionable threat and is on its face political speech. It is therefore

  protected by the First and Fourteenth Amendments and Article One, Section Six of

  the New Jersey Constitution.

          Similarly, Plaintiffs D'Ambly and the Rehl Plaintiffs’ alleged property

  damage by unnamed third parties is not actionable against Exoo where they are

  based on alleged statements which are constitutionally protected. FASC at ¶¶ 59,

  82, 88, 94. Nowhere did Defendant Exoo call for damage to their property. Exoo is

  no more liable than a newspaper publisher that prints truthful information about a

  person and a third party subsequently acts in an unlawful manner. Moreover,

  Defendants have failed to plausibly allege a causal link between Exoo’s

  Constitutionally protected statements and the alleged property damage of the

  Plaintiffs.

          Plaintiffs’ claims against Defendant Exoo share a common denominator in

  that the claims are directed at Exoo’s constitutionally protected political speech as




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  an independent researcher exposing dangerous extremists for the benefit of the

  public at large. The claims are not actionable.

          2. The First Amendment and New Jersey Constitution Protect Defendant
             Exoo from Plaintiffs’ Tort Claims
          The First Amendment argument is particularly apt with respect to Plaintiffs’

  tort claims. With respect to Plaintiffs’ claims for tortious interference with

  prospective economic benefit (asserted by all Plaintiffs other than K.R against

  Defendant Exoo), Defendant Exoo is accused of providing truthful, publicly

  available information and supporting evidence concerning Plaintiffs to the public

  in an act described by Plaintiffs as “doxing.” As other courts have noted, “there is

  simply no existing framework in the United States which criminalizes the act of

  “doxing” or “doxing” private citizens.” United States v. Cook, 472 F. Supp. 3d

  326, 332-340 (N.D. Miss. 2020) (dismissing criminal indictment for cyber-

  harassment as an unconstitutional violation of the First Amendment as applied to

  doxing activities).

          Plaintiffs do not plausibly assert that any of the information that Defendant

  Exoo allegedly exposed about Plaintiffs was anything but truthful. The court

  system is not a forum for plaintiffs seeking to punish individuals for the

  dissemination of truthful information. It is well-settled that the First Amendment of

  the United States Constitution and Article One, Section Six of the New Jersey

  Constitution protect the dissemination of truthful statements. See U.S. Constitution,

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  Amendment I (“Congress shall make no law … abridging the freedom of speech);

  N.J. Constitution Article I, Section 6 (“No law shall be passed to restrain or

  abridge the liberty of speech or of the press”). “The communication of truthful

  information does not constitute improper interference with another’s contractual

  relationships.” Atiyeh Publ’g, LLC v. Times Mirror Magazines, Inc., Civ No. 00-

  cv-1962, 2000 U.S. Dist. LEXIS 18728, at *7-8 (E.D. Pa. Dec. 7, 2000), citing

  Yaindl v. Ingersoll-Rand Co. Standard Pump-Aldrich Div., 281 Pa. Super. 560 n.12

  (Pa. Super. 1980). Gardner v. Martino, 563 F.3d 981, 992 (9th Cir. 2009) (“when a

  claim of tortious interference with business relationships is brought as a result of

  constitutionally-protected speech, the claim is subject to the same First

  Amendment requirements that govern actions for defamation.”).

          Moore v. Hoff, 821 N.W.2d 591, 599 (Minn. Ct. App. 2012) is directly on

  point. In that case, the Minnesota Supreme Court held that an online blogger could

  not be liable for tortious interference with the plaintiff’s employment contract

  when the plaintiff was fired from his job after the blogger exposed truthful

  information concerning the employee’s conduct as that is constitutionally protected

  speech. See 821 N.W.2d at 599. “Because truth is an absolute defense to a claim

  for defamation … truth should also be a defense to a claim for tortious

  interference with a contract arising out of an allegedly defamatory statement.” Id.

  at 596-97. Article I, Section 6 of the New Jersey Constitution explicitly provides


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  that truth is an absolute defense to defamation claims under New Jersey law.

  Similarly, truth must be an absolute defense to claim for tortious interference with

  business contracts.

          Similarly, the First Amendment and Article One, Section Six of the N.J.

  Constitution protect speakers from claims of intrusion upon seclusion. In Snyder v.

  Phelps, 562 U.S. 443, 460-61 (2011), the U.S. Supreme Court held that the First

  Amendment trumped plaintiff’s claim for intrusion upon seclusion where the

  defendants publicly espoused their beliefs resulting in harm to the plaintiff, and

  those beliefs were not provably false. Counts II and III allege constitutionally

  protected speech and must be dismissed with prejudice.

          C. Count II For Tortious Interference Must Be Dismissed

          Providing truthful information to employers about the conduct of their

  employees does not constitute interference with economic opportunity.

  Restatement (Second) of Torts § 772(a) (1977) (“One who intentionally causes a

  third person not to perform a contract . . . does not interfere improperly with the

  other’s contracted relation, by giving the third person truthful information”). See

  also E. Penn Sanitation, Inc. v. Grinnell Haulers, Inc., 294 N.J. Super. 158, 180

  (1996) cert. denied, 148 N.J. 458 (1997). Moreover, most of the Plaintiffs

  including Hartley, Tucci, Schwetz, Reidinger, Wolkind, and Amanda Rehl fail to

  allege that Defendant Exoo interfered with any economic opportunity. ¶¶ 83-121.


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  In addition, the Exoo Tweets show that Defendant Exoo first mentioned Zach

  Rehl, more than a year after he was terminated. See Exh. B-V, Exoo-Rehl Tweets

  at 6.

          D. Count III For Intrusion Upon Seclusion Must Be Dismissed

          All Plaintiffs other than K.R assert a claim of intrusion upon section against

  Defendant Exoo – but they each fail to satisfy the elements of the claim. Those

  elements are set forth in the Second Restatement of Torts. See Bisbee v. John

  C. Conover Agency, Inc., 186 N.J. Super. 335, 339 (App.Div.1982); Rumbauskas

  v. Cantor, 138 N.J. 173, 179-82 (1994). The Restatement provides the following

  three-prong test:

          One who intentionally intrudes, physically or otherwise, upon the solitude or
          seclusion of another or his private affairs or concerns, is subject to liability
          to the other for invasion of his privacy, if the intrusion would be highly
          offensive to a reasonable person.

  [3 Restatement (Second) of Torts § 652B (1977).] In other words, a plaintiff must

  plead (1) a privacy interest (2) that was violated, and (3) that the violation would

  be highly offensive to a reasonable person. The FASC pleads none of these

  elements.

          First, the allegations in the FASC do not sufficiently allege any privacy

  interest that was violated. Plaintiffs made no secret of their association with their

  respective hate groups or hateful activities. For example, Plaintiff D’Ambly

  participated in a video published on NJEHA’s YouTube channel in a “jew walk”
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  without concealing his identity and holding a sign reading “EXPEL THE JEW

  ’22.” (emphasis in original). See Exh. B-II, Exoo-D’Ambly Tweets at 16. Plaintiff

  Reidinger also identified himself as a domestic terrorist and his occupation as a

  “shover at helicopter.” See Exh. B-VII, Exoo-Reidiner Tweets at 3. Similarly, the

  other Plaintiffs who claim to have been doxed publicly disclosed their hate group

  associations on social media. There was nothing private about those activities.

          Second, the claim requires an invasion of the plaintiff's “private” space or

  solitude, such as opening a person's mail, searching his safe or his wallet, or

  examining his bank account. See Restatement (Second) of Torts § 652B, cmt.

  b (citing examples). “A public document reporting information from a public

  record does not intrude on a Defendant’s seclusion.” Pinkney v. Meadville, Pa.,

  No. 1:19-cv-167, 2020 U.S. Dist. LEXIS 73669, at *11 (W.D. Pa. Apr. 27, 2020).

  Even a person’s home address is not a private fact sufficient to support a claim for

  publication of private facts. See Brignola v. Home Properties, L.P., No. 10-cv-

  3884, 2013 U.S. Dist. LEXIS 60282, at *34 (E.D. Pa. Apr. 26, 2013). In this case,

  Defendant Exoo merely associated some of the Plaintiffs’ employment information

  with their public comments and activities.

          Third, Courts routinely dismiss upon seclusion claims based on the

  plaintiff’s failure to show that the intrusion would be highly offensive to a

  reasonable person. See e.g., In re Nickelodeon Consumer Privacy Litig., 827 F.3d


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  262, 294-95 (3d Cir. 2016) (affirming dismissal where allegations were not

  “sufficiently offensive” to “survive a motion to dismiss”). In Alvarado v. KOB-TV,

  L.L.C., No. 05-cv-750, 2005 U.S. Dist. LEXIS 45372, at *19 (D.N.M. Nov. 14,

  2005), the court found that the alleged intrusion consisting of the broadcast of

  plaintiffs’ names and footage of their homes failed to satisfy the highly offensive

  standard. Id.

          In this case, Defendant Exoo’s alleged conduct does not meet the objective

  highly offensive standard. While Plaintiffs’ views, activities and associations like -

  recruiting snipers, expelling Jews, pushing people out of helicopters, genocide and

  beating up “antifags” - may be highly offensive to a reasonable person, the

  exposure of those activities and associations is not. Defendant Exoo’s efforts to

  hold individuals accountable for their hateful, violent, and/or racist statements and

  conduct is not highly offensive to a reasonable person.

          E. Counts IV, V, and VI Are Criminal Statutes With No Private Right of
             Action

          Private individuals generally lack the authority to enforce federal criminal

  statutes. Walsh v. Krantz, No. 07-cv-616, 2008 U.S. Dist. LEXIS 44204, at *11

  (M.D. Pa. June 4, 2008). A federal criminal statute may provide an implied private

  right of action only if Congress so intended in enacting the criminal

  statute. See Thompson v. Thompson, 484 U.S. 174, 179 (1988) (holding that a

  private remedy will not be implied unless legislative intent can be inferred from
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  statutory language or elsewhere). See also Gonzaga Univ. v. Doe, 536 U.S. 273,

  284-85 (2002). Because Plaintiffs cannot create a cause of action where none

  exists, leave to amend would be futile and the claims should be denied with

  prejudice. Walsh, 2008 U.S. Dist. LEXIS 44204, at *13 (“[T]he motion to dismiss

  these criminal claims [] will be granted and leave to amend will be denied as

  futile.”).

          First, there is no private right of action for violations of 18 U.S.C. § 875(c)

  (Count V). Chadda v. Mullins, No. 10-cv-4029, 2010 U.S. Dist. LEXIS 119152, at

  *5-6 (E.D. Pa. Nov. 9, 2010). Walsh, 2008 U.S. Dist. LEXIS 44204, at *11; Koch

  v. Law Firm Schemery Zicolello, No. 4:19-cv-00361, 2020 U.S. Dist. LEXIS

  153000, at *9 (M.D. Pa. Aug. 21, 2020) (“None of these statutes [18 U.S.C. § 875.]

  provide for a private civil cause of action.”). In Chadda, the court held

  “Defendants contend that Walsh cannot maintain the claims premised on criminal

  statutes [including] 18 U.S.C. § 875. The court agrees.” 2010 U.S. Dist. LEXIS

  119152, at *5-6.

          Second, there is no private right of action for Plaintiffs’ claim for violation

  of 18 U.S.C. § 2261(A), interstate stalking. “The legislative history does not

  suggest that Congress contemplated a private right of action, and in fact indicates

  the opposite.” Rock v. BAE Systems, Inc., 556 F. App'x 869, 871 (11th Cir. 2014).

  See also Agundis v. Rice, No. 2:17-cv-00536, 2018 U.S. Dist. LEXIS 117620, at


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  *32-33 (N.D. Ala. July 13, 2018); Kruska v. Perverted Justice Found. Inc. Org.,

  No. 08-cv-00054, 2010 U.S. Dist. LEXIS 126765, at *24 (D. Ariz. Nov. 17, 2010).

          In Perverted Justice, a convicted child sex offender alleged that defendants’

  publication of her employer and home information along with information

  concerning her conviction on the internet constituted internet stalking and cyber-

  harassment. The court dismissed the claim with prejudice noting, “[n]owhere

  does 18 U.S.C. § 2261(a)(2) provide a private right of action or recovery.” 2010

  U.S. Dist. LEXIS 126765, at *24.

          Third, there is no private of right of action for Plaintiff D’Ambly’s claims

  for cyber harassment and stalking under New Jersey law. See FASC Count VI,

  alleging violations of N.J.S.A. 2C:33-4.1(a) (Crime of Cyber harassment) and a

  stalking statute, cited as N.J.S.A. 2C:30-31(a), that does not exist. New Jersey’s

  cyber harassment and stalking statutes are criminal statutes. New Jersey courts

  “have been reluctant to infer” a private right of action when a statute does not

  expressly provide one. R.J. Gaydos Ins. Agency, Inc. v. Nat'l Consumer Ins. Co.,

  168 N.J. 255, 271 (N.J. 2001).

          There is no evidence that the New Jersey legislature intended to create a

  private cause of action for either statute. Courts in other states have found that

  similar state criminal statutes for cyber harassment and stalking do not create

  private rights of action. See e.g., Brune v. Takeda Pharm. U.S.A., Inc., No. 1:18-


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  cv-298, 2019 U.S. Dist. LEXIS 123022, at *23-24 (S.D. Miss. July 24, 2019)

  (holding that there is no private right of action under Mississippi criminal statute

  for cyber harassment); Cuadrado-Concepcion v. United States, No. 19-cv-305,

  2020 U.S. Dist. LEXIS 143040, at *20 (S.D. Ga. Aug. 10, 2020) (no private right

  of action for Georgia’s criminal stalking statute.); Lostutter v. Olsen, No. 1:16-cv-

  1098, 2017 U.S. Dist. LEXIS 136280, at *40-41 (M.D.N.C. Aug. 24, 2017)

  (“[T]he court has found that Lostutter's “cyber-stalking” claims cannot survive

  dismissal, as they rely on [North Carolina] criminal statutes that have no

  apparent private right of action.”).

          F. Counts IX and X For Federal RICO Violations Must be Dismissed

          To establish a claim for RICO, a plaintiff must show “(1) conduct (2) of an

  enterprise (3) through a pattern (4) of racketeering activity.” Sedima, S.P.R.L v.

  Imrex Co., 473 U.S. 479, 496, (1985). The statute defines racketeering by a list of

  criminal activities that constitute predicate acts for purposes of RICO. Warden v.

  McLelland, 288 F.3d 105, 114 (3d Cir. 2002).

          1. Plaintiff Failed to Allege Requisite Predicate Acts in Furtherance of the
             Alleged Conspiracy (Count IX)

          Establishing a racketeering conspiracy requires the commission of two or

  more predicate criminal acts under RICO, 18 U.S.C. 1962(c). Pioneer Contracting,

  Inc. v. E. Exterior Wall Sys., No. 04-cv-01437, 2005 U.S. Dist. LEXIS 5197, at *4

  (E.D. Pa. Mar. 30, 2005) (dismissing RICO claim where plaintiff failed to properly
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  allege predicate acts). Plaintiffs have alleged none. Count IX of the FASC alleges

  violations of 18 U.S.C. §§ 1951 (the “Hobbs Act”) and 1952 (the “Travel Act”).

  While Plaintiffs make passing reference to these statutes, such “passing

  reference is insufficient to state a RICO claim upon which relief can be granted.”

  See Jung v. Pennsylvania, No. 3:18-cv-01248, 2018 U.S. Dist. LEXIS 108289, at

  *12 (M.D. Pa. June 27, 2018) (recommending dismissal of Plaintiff’s RICO claim

  predicated upon the Hobbs Act).

          First, Plaintiffs fail to satisfy the predicate act requirement under the Hobbs

  Act because the facts as alleged do not constitute robbery or extortion. The Hobbs

  Act provides, in part:

          Whoever in any way or degree obstructs, delays, or affects commerce or the
          movement of any article or commodity in commerce, by robbery or
          extortion or attempts or conspires so to do, or commits or threatens physical
          violence to any person or property in furtherance of a plan or purpose to do
          anything in violation of this section ….
          18 U.S.C. 1951(a).

          In Scheidler v. NOW, Inc., 537 U.S. 393, 405 (2003)(“Scheidler I”), the

  United States Supreme Court determined that the RICO defendants, anti-abortion

  protestors who sought to disrupt abortion clinics, did not violate Section 1951

  because they did not seek to obtain any property. Id. (noting that extortion requires

  both the deprivation of property by the victim and the attainment of that property

  by the perpetrator). The Court held, “eliminating the requirement that property

  must be obtained to constitute extortion would not only conflict with the express
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  requirement of the Hobbs Act, it would also eliminate the recognized distinction

  between extortion and the separate crime of coercion -- a distinction that is

  implicated in these cases.” Id.

          Similarly in Int'l Ass'n of Machinists v. Jackson, No. 09-150, 2010 U.S. Dist.

  LEXIS 15885, at *21-22 (E.D. Pa. Feb. 19, 2010), the plaintiff asserted a RICO

  claim against defendants in connection with the loss of his employment. The claim

  was dismissed because “the complaint d[id] not allege that the Individual

  Defendants obtained Plaintiffs’ jobs.” Id.

          In this case, Plaintiffs mention the word “extortion” no less than sixteen

  times. See FASC at ¶¶ 33, 34, 35, 45, 77, 97, 121, 146(b), 175, 188, 193, 195, 212,

  213, 233, 241. However, the pleading contains no actual allegations of extortion as

  that term is defined by the United States Supreme Court. Plaintiffs fail to allege

  that Defendant Exoo or any of his alleged co-conspirators tried to obtain for

  themselves Plaintiffs’ jobs or any other property.

          Plaintiffs also alleged threats by unnamed third parties are actionable under

  Section 1951 against Defendant Exoo. See FASC at ¶¶ 193, 204, 205. But, the

  Supreme Court has held that even actual acts of physical violence do not satisfy the

  predicate act requirement where those acts of violence are unrelated to robbery or

  extortion. Scheidler v. NOW, Inc., 547 U.S. 9, 16 (2006) (“Scheidler II”) (“We




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  hold that physical violence unrelated to robbery or extortion falls outside the scope

  of the Hobbs Act.”).

          Second, Plaintiffs fail to satisfy the predicate act requirement under the

  Travel Act and fail to allege any acts of violence or “unlawful activity” as defined

  by the Act. Plaintiffs simply allege that Defendant Exoo participated in some sort

  of unlawful activity in connection with his “violent doxing campaign.” See FASC

  at ¶ 205. However, the Travel Act applies to acts of violence in connection with a

  defined list of “unlawful activity” limited to: 1) failure to pay excise tax for a

  business involving gambling, or liquor; 2) crimes concerning narcotics or

  controlled substances, prostitution, extortion, bribery, arson, money laundering,

  and 3) obtaining money from criminal activity. See 18 U.S.C. § 1952. The

  disclosure of truthful information is not referenced in the statute nor is alerting an

  employer to the fact that it is employing a member of a hate group.

          Moreover, like the Hobbs Act obtainment requirement, extortion claims

  under the Travel Act require that the defendant take possession of the property at

  issue. Cintas Corp. v. Unite Here, 601 F. Supp. 2d 571, 578 (S.D.N.Y. 2009).

  Because Plaintiffs fail to plausibly allege any RICO predicate acts under the Travel

  Act or the Hobbs Act, the RICO claims should be dismissed with prejudice.

          In the Perverted Justice case, the plaintiff, a convicted child sex offender,

  alleged that the defendants who exposed her conduct were part of a similar RICO


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  conspiracy for publishing substantially truthful information relating to plaintiff’s

  criminal activity along with the plaintiff’s home and employer information. 2010

  U.S. Dist. LEXIS 126765, at *22. The court dismissed the RICO claim with

  prejudice after determining that the plaintiff failed to allege a single predicate act

  much less a pattern of racketeering activity. Id. With respect to their RICO claims,

  Plaintiffs in this case are no different from the convicted child sex offender in

  Perverted Justice. They fail to satisfy the predicate act requirement.

          2. Plaintiffs Failed to Allege the Existence of RICO Enterprise

          Plaintiffs also fail to allege facts from which to conclude the existence of a

  RICO enterprise. A RICO enterprise is defined in 18 U.S.C. § 1961 (4) as: “any

  individual, partnership, corporation, association, or other legal entity, and any

  union or group of individuals associated in fact although not a legal entity.” A

  RICO enterprise, “must have at least three structural features: a purpose,

  relationships among those associated with the enterprise, and longevity sufficient

  to permit these associates to pursue the enterprise’s purpose.” Boyle v. U.S, 556

  U.S. 938, 946 (2009).

          The FASC offers no detail regarding the structure of the Exoo Enterprise

  and identifies only four participants in an alleged enterprise that supposedly

  contains more than 100,000 members. The FASC does not plausibly allege any

  “agreement” among the alleged co-conspirators. Moreover, the FASC does not


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  remotely suggest that Exoo, Twitter, Gadde, St. Lawrence and the 100,000

  unnamed associates combined as a unit or acted in concert for a common purpose.

  Plaintiffs offer no details for their claim that there is an association other than

  farfetched, unsubstantiated, conclusory accusations that exists only in Plaintiffs’

  papers. Moreover, Plaintiffs have failed to plausibly allege a sufficient causal link

  between Defendants’ actions and any harm they claim to have suffered. Anza v.

  Ideal Steel Supply Corp., 547 U.S. 451, 453 (2006) (noting a plaintiff may only sue

  under RICO where the alleged RICO violation was the proximate case of the

  plaintiff’s injury).

          3. Plaintiffs Failed to Allege a RICO Conspiracy (Count X)

          Where a plaintiff fails to state a claim for violation of the federal RICO

  statute, “it follows that the Complaint also fails to state a claim for conspiracy to

  violate th[is] statute[]. Zazzali v. Hirschler Fleischer, P.C., 482 B.R. 495, 516-17

  (D. Del. 2012), citing Zavala v. Wal-Mart Stores, Inc., 691 F.3d 527 (3d Cir.

  2012) (affirming dismissal of RICO and conspiracy to commit RICO claims

  because complaint did not adequately allege predicate acts required for RICO

  claims). See also Binary Semantics Ltd. v. Minitab, Inc., 2008 U.S. Dist. LEXIS

  28602, at *13 (M.D. Pa. Mar. 20, 2008) (stating that a RICO conspiracy claim




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  “necessarily fails due to failure to state a claim under RICO”). In this case,

  Plaintiffs failed to state a claim under RICO, therefore, the RICO conspiracy claim,

  18 U.S.C. § 1962(d) should be dismissed with prejudice.

          4. Plaintiff Should be Required to Submit a RICO Statement pursuant to
             Local Civil Rule 16.1(b)(4)

         In the event Plaintiffs’ federal RICO claim is not dismissed with prejudice,

  Plaintiffs should be required to file a RICO case statement pursuant to Local Civil

  Rule 16.1(b)(4). See Northland Ins. Co. v. Shell Oil Co., 930 F. Supp. 1069, 1076

  (D.N.J. 1996) (“the RICO Case Order is supported by Congressional act, federal

  and local rule.”). The local rule provides that: “[i]n a civil action arising under 18

  U.S.C. §§1961-1968, the Judge or Magistrate Judge may require a RICO case

  statement to be filed and served in the form set forth in Appendix O.” A copy of

  the Optional RICO Case Order is annexed to the Torres Decl. as Exh. H.

  “The order was designed to aid plaintiffs in framing their claims with particularity

  sufficient for the requirements of the RICO statute.” Northland, 930 F. Supp. at

  1073. Plaintiffs should be required to submit a RICO case statement because

  several Defendants’ motions to dismiss focus on the elements of Plaintiff’s RICO

  claim. See Rothberg v. Marger, No. 11-cv-5497, 2012 U.S. Dist. LEXIS 71088, at

  *9 (D.N.J. May 21, 2012) (“Because Defendants' motions to dismiss Plaintiffs'

  RICO claim focus on Plaintiffs’ failure to allege a pattern of racketeering activity



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  and failure to allege a specific predicate statute, [] the Court orders Plaintiffs to

  file” a RICO case Statement.”).

          5. Count XIII for N.J. Racketeering Must be Dismissed

         Plaintiff D’Ambly is the only Plaintiff asserting a claim for violation of the

  New Jersey racketeering statute (“NJRICO”). See FASC at ¶ 186. D’Ambly’s

  NJRICO claim must be dismissed for failure to state a claim. To state a claim

  under the statute, a plaintiff must allege, “(1) the existence of an enterprise

  affecting trade or commerce; (2) that the defendant was employed by or associated

  with the enterprise; (3) that the defendant participated, either directly or indirectly,

  in the conduct or the affairs of the enterprise; and (4) that defendant participated

  through a pattern of racketeering activity that must include the allegation of at least

  two predicate acts.” Horowitz v. Marlton Oncology, P.C., 116 F. Supp. 2d 551, 554

  (D.N.J. 1999). New Jersey's RICO statute “borrows its structure, purpose and

  remedies from Federal RICO” and New Jersey courts heed federal case law in

  construing the statute. See State v. Ball, 268 N.J. Super. 72, 98 (App.

  Div.1993), aff'd, 141 N.J. 142 (1995). See also Jersey Asparagus Farms, Inc. v.

  Rutgers Univ., 803 F. Supp. 2d 295, 316-17 (D.N.J. 2011) (dismissing New Jersey

  Racketeering claim on the same grounds as the Court’s dismissal of plaintiff’s

  federal RICO claim.). Where a Plaintiff’s federal RICO claim “alleges insufficient

  facts to support a claim of racketeering, so too must the New Jersey state RICO


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  claim fail.” Leeder v. Feinstein, No. 3:18-cv-12384, 2019 U.S. Dist. LEXIS

  108810, at *24 (D.N.J. June 28, 2019). In this case, D’Ambly fails to satisfy the

  enterprise requirement, and fails to show a pattern of racketeering activity for the

  same reasons the federal RICO claim failed.

         Plaintiff D’Ambly alleges violations of three statutes. See FASC at ¶ 188 (a-

  c) alleging the Exoo Enterprise engaged in activities prohibited by N.J.S.A. 2C:41-

  2; N.J.S.A. 2C:41(a)(1)(h)(sic); and N.J.S.A. 2C:41(a)(1)(bb)(sic).

         First, N.J.S.A. 2C:41-2 (“Prohibited Activities”) contains a laundry list of

  potential racketeering activities. Plaintiff D’Ambly does not bother state which of

  the many, many racketeering activities he claims was violated even though this

  statute seems to concern financial crimes, quite dissimilar from the complaint in

  this case.

         Second, D’Ambly alleges multiple acts of extortion. However, D’Ambly fails

  to recognize the obtainment requirement that distinguished extortion from mere

  coercion. New Jersey’s criminal extortion statute requires that the perpetrator

  obtain property of the victim. See e.g., N.J.S.A. 2C:20-5 (Theft By Extortion)

  (requiring the defendants to “purposely and unlawfully obtain[] property of another

  by extortion.”) This is the same “obtainment” requirement recognized by the U.S.

  Supreme Court in Scheidler I, 537 U.S. at 405. While Plaintiff D’Ambly grouses

  that he lost his printing job after his white supremacist activities were exposed, he


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  does not allege that his job was given to Defendant Exoo or any of the other

  Defendants.

         Third, as discussed above in relation to Exoo’s First Amendment protection,

  Plaintiff D’Ambly has failed to plausibly allege facts from which to conclude that

  any of the named Defendants made any actionable true threat against him.

  Constitutionally protected speech cannot establish a predicate criminal act

  requirement under the NJRICO statute. D’Ambly’s NJRICO claim must be

  dismissed with prejudice. See U.S. Constitution, Amendment I, New Jersey

  Constitution Article 1, Section 6.

          G. Plaintiffs Whose Claims Have No Connection to New Jersey Must Be
             Dismissed From the Action for Lack of Personal Jurisdiction

          Plaintiffs’ federal RICO claims are the only claims that provide for

  nationwide personal jurisdiction over the Defendants. The dismissal of the federal

  RICO claims requires the dismissal of all claims asserted by all Plaintiffs, apart

  from Plaintiff D’Ambly, against Defendants Exoo, Twitter, Gadde, and St.

  Lawrence for lack of personal jurisdiction. Absent specific jurisdiction for their

  personal claims, a plaintiff may not tag along in a federal action merely because

  one or more other plaintiffs can satisfy the minimum contacts requirements. See

  Bristol-Myers Squibb Co. v. Superior Court, 137 S. Ct. 1773, 1782 (2017).

          In Bristol-Myers Squibb, the Supreme Court held that a California district

  court could not exercise specific jurisdiction over an out-of-state defendant where
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  the nonresident-plaintiffs were injured in their own states of residence, and not in

  California. See also Hannah v. Johnson & Johnson Inc., Civil Action No. 18-1422

  (FLW), 2020 U.S. Dist. LEXIS 113284, at *101 (D.N.J. June 29, 2020) (“Plaintiffs

  who have no connection to [the forum state] are missing the requisite contact

  between their claims and the [] Defendants.”). Weirbach v. Cellular Connection,

  LLC, No. 5:19-cv-05310-JDW, 2020 U.S. Dist. LEXIS 144497, at *12 (E.D. Pa.

  Aug. 12, 2020) (noting that Bristol-Myers Squibb “means this Court cannot

  exercise personal jurisdiction over the out-of-state plaintiffs' claims.”).

          Plaintiffs, other than Plaintiff D’Ambly, cannot establish general or specific

  jurisdiction over Defendants Exoo, Gadde, Twitter, and St. Lawrence. The claims

  of those twelve Plaintiffs lack any nexus to the State of New Jersey. Indeed, only

  Plaintiff D’Ambly asserts claims under New Jersey law. See FASC at ¶¶ 161, 186.

  Defendant Exoo lives and works in New York. See Exh. A Exoo Decl. He has no

  connection to the State of New Jersey sufficient to subject him to general

  jurisdiction or specific jurisdiction with respect to the twelve non-resident

  Plaintiffs’ claims. Id. The same is true for Defendants Twitter, Gadde and St.

  Lawrence. See FASC at ¶¶ 16-17, 20-21 (noting that Twitter, Gadde and St.

  Lawrence are not domiciled in New Jersey). Accordingly, in the event that the

  federal RICO claim is dismissed with prejudice, the claims of all of the state




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  Plaintiffs’ must also be dismissed for lack of personal jurisdiction pursuant to

  F.R.C.P. Rule 12(b)(2).

                                            CONCLUSION

          For the foregoing reasons, the Court should dismiss Plaintiffs’ claims

  against Defendant Exoo with prejudice.

          Dated:          April 22, 2020
                          Springfield, New Jersey

                                                   Respectfully submitted,



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